Case 2:23-cv-03885-LMG-LDW Document 84-2 Filed 01/10/24 Page 1 of 6 PageID: 3690

                            UNITED STATES DISTRCT COURT
                             FOR THE DISTRICT OF NEW JERSEY

STATE OF NEW JERSEY,
                                    Plaintiff,                 Civil Action No. 2:23-cv-03885
v.                                                                                 CCC-LDW

UNITED STATE DEPARTMENT OF
TRANSPORTATION, et al.
                        Defendants,
and

METROPOLITAN TRANSPORTATION AUTHORITY,
et al.
                                     Defendant-Intervenors.
_______________________________________________
MARK SOKOLICH, in his capacity as the Mayor of Fort
Lee and a resident of Fort Lee, and RICHARD GALLER,
individually and on behalf of all others similarly situated,
                                     Plaintiffs,

v.

UNITED STATES DEPARTMENT OF TRANSPORTA-
TION, FEDERAL HIGHWAY ADMINISTRATION,
SHAILEN BHATT, in his official capacity as Administra- Civil Action No. 2:23-cv-21728
tor of the Federal Highway Administration, and RICHARD                    CCC-LDW
J. MARQUIS, in his official capacity as Division Adminis-
trator of the New York Division of the Federal Highway
Administration; THE MANHATTAN TRANSIT
AUTHORITY (MTA), JOHN JANNO LIEBER, in his
official capacity as Chair and CEO of the MTA, the
TRIBOROUGH BRIDGE AND TUNNEL AUTHORITY
(TBTA), DANIEL DECRESCENZO, in his official
capacity as President of the (TBTA), the TRAFFIC
MOBILITY REVIEW BOARD (TMRB), CARL
WEISBROD, in his capacity as Chair of the (TMRB),
                                    Defendants.


                            BRIEF IN SUPPORT OF MOTION TO CONSOLIDATE

                                             Bruce H. Nagel, Esq.
                                             Randee M. Matloff, Esq.
                                             NAGEL RICE, LLP
                                             103 Eisenhower Parkway
                                             Roseland, New Jersey 07068
                                             Telephone: (973) 618-0400 Email: bnagel@nagelrice.com
                                             Attorneys for Plaintiffs, Mark Sokolich, in his capacity as the
                                             Mayor of Fort Lee and a resident of Fort Lee, and
                                             Richard Galler, individually and on behalf of all others similarly situated
Case 2:23-cv-03885-LMG-LDW Document 84-2 Filed 01/10/24 Page 2 of 6 PageID: 3691




         Plaintiff, Mark Sokolich, in his capacity as the Mayor of Fort Lee and a resident of Fort

  Lee, and Richard Galler, individually and on behalf of all others similarly situated (herein

  “Movants”), respectfully submits this memorandum in support of Plaintiffs’ motion for entry of

  an order consolidating the above-captioned proposed class action pending in this Court, along with

  any related class actions that are subsequently filed in, removed to, or transferred to this Court

  with the first-filed action filed by the State of New Jersey.

                                       FACTUAL SUMMARY

         On November 1, 2023, this firm, Nagel Rice, LLP, filed a class action litigation in this

  District entitled Mark Sokolich, in his capacity as the Mayor of Fort Lee and a resident of Fort

  Lee, and Richard Galler, individually and on behalf of all others similarly situated v. United States

  Department of Transportation, et als,, No. 2:23-cv-21728. (herein “Class Action”) The case

  concerns Mark Sokolich, in his capacity as the Mayor of Fort Lee, and on behalf of all other

  government officials and residents of Bergen County and the area surrounding the George

  Washington Bridge that will be impacted by the New York Central Business District Tolling

  Program , (“congestion pricing scheme”) and Mr. Richard Galler, individually and on behalf of

  classes of similarly situated individuals; (i) suffering from asthma or other respiratory ailments

  who will be subject to increased respiratory injury and (ii) commuters to New York City who will

  be subjected to increased tolls and/or inconvenience and cost of rerouting in order to avoid

  congestion pricing .

         On July 21, 2023, the State of New Jersey filed a Complaint against the United States

  Department of Transportation and the Federal Highway Administration in this District entitled

  State of New Jersey v. United States Department of Transportation, et als., Case No. 2:23-03885.

  .(herein “State Case”)This case primarily challenges the procedural improprieties and Clean Air



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Case 2:23-cv-03885-LMG-LDW Document 84-2 Filed 01/10/24 Page 3 of 6 PageID: 3692




  Act violations emanating for the rushed procedure, failure to consider numerous scenarios and

  approving the plan with requiring an Environmental Impact Statement

         The Complaints in both actions seek injunctive relief and both of these cases are defended

  by the same counsel. Not consolidating these actions could result in inconsistent judgments and

  create havoc . Counsel in both the State Case and the Class Action are both are pursuing similar

  claims relating to approval of the congestion pricing plan without appropriately considering

  mandatory factors required under the Clean Air Act (“CAA”) and the failure of the FHWA to

  require a comprehensive environmental impact statement (“EIS” instead moving forward with

  only a Finding of No Significant Impact (“FONSI”). Both lawsuits question the fast-tracking of

  the project to plug the MTA’s budget gap for the sole benefit of New York and at the extreme

  detriment of New Jersey.    However, the Class Action also seeks relief on behalf of a medical

  monitoring class for respiratory injury as well as on behalf of New Jersey commuters.

         While a response to the Sokolich action is not due until January 15, 2023, counsel in the

  first filed action has moved for summary judgment (ECF 67-1) on November 10, 2023, and a

  response and cross-motion for summary judgment was filed by the Defendants in that case (ECF

  79) as well as, a brief as amici in support of Defendants’ cross-motion. (ECF 78-1) both filed on

  December 15, 2023.

         This application to consolidate will not effect the current briefing or argument schedule as

  we intend to file a short letter brief adopting and supporting the arguments advanced by the State.




                                                  2
Case 2:23-cv-03885-LMG-LDW Document 84-2 Filed 01/10/24 Page 4 of 6 PageID: 3693




                                           ARGUMENT

                                              POINT I

                             CONSOLIDATION IS APPROPRIATE

         Local Civil Rule 42.11 allows for motions to consolidate "two or more civil cases pending

  upon the docket of the Court." Rule 42(a) of the Federal Rules of Civil Procedure provides as

  follows:

              When actions involving a common question of law or fact are pending
              before the court, it may order a joint hearing or trial of any of all the
              matters in issue in the actions; it may order all the actions consolidated;
              and it may make such orders concerning proceedings therein as may tend
              to avoid unnecessary costs or delay.

  FED. R. Civ. P. 42(a).

         Consolidation of the congestion pricing cases is appropriate because the two suits involve

  common questions of law and fact and allege similar and/or related claims against the same

  defendants. Smith v Suprema Specialties, 206 F. Supp. 2d 627, 630 (D.N.J. 2002) (consolidating

  11 securities fraud cases under earliest docketed case). As set forth in Borough of Edgewater v.

  Waterside Constr., LLC, No. CV 14-5060 (JMV), 2017 WL 1758062, at *2 (D.N.J. May 3, 2017):

              The purpose of consolidation is “to streamline and economize pretrial
              proceedings so as to avoid duplication of effort, and to prevent conflicting
              outcomes in cases involving similar legal and factual issues.” In re TMI
              Litig., 193 F.3d 613, 724 (3d Cir. 1999). Accordingly, “[i]n the absence of
              an articulated basis to assert confusion or prejudice, consolidation is
              generally appropriate.” A.F.I.K. Holding SPRL v. Fass, 216 F.R.D. 567,
              570 (D.N.J. 2003).




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   This motion is being filed in the earlier filed action with notice to all counsel via ECF in both
  actions.
                                                  3
Case 2:23-cv-03885-LMG-LDW Document 84-2 Filed 01/10/24 Page 5 of 6 PageID: 3694




  See also Akshayraj, Inc. v. Getty Petroleum Marketing, Inc., No. 06-2002, 2007 WL 4554212, at

  *9 (D.N.J. Dec. 20, 2007) (consolidating cases to "help prevent conflicting outcomes involving

  similar legal and factual issues").

         A number of common factors indicate that the two actions are, indeed, related and are ripe

  for consolidation to prevent overlapping or divergent outcomes. In each of the congestion pricing

  cases, the Plaintiffs allege that the Federal Highway Authority’s (FHWA)’s June 27, 2023 decision

  to approve the environmental review phase of New York’s Central Business District Tolling

  Program which imposes an additional toll on drivers in Manhattan’s Central Business District was

  improper. Both cases allege that approval was imprudently given without the preparation of a

  complete environmental impact statement (EIS). The Sokolich and Galler later filed action is

  plead as a class action, and also seeks relief in the form of medical monitoring for New Jersey

  residents impacted by the increased air pollution caused by New Jersey residents traveling to the

  George Washington Bridge to avoid having to pay the additional congestion pricing toll, recently

  approved at $15 per day. However, the varying types of relief sought in the two cases are

  complimentary, not contradictory.

         Because the recently filed briefs in the first filed action will directly impact the relief being

  sought in the Sokolich action, we submit that consolidation will provide counsel the later filed

  action with the opportunity to submit substantive briefs and evidence relevant in both cases.

  Additionally, counsel in the Sokolich action seeks the ability to participate in any ongoing or future

  mediation in the State Case.

         For the same reasons, consolidation of any related actions that are subsequently filed i n,

  removed to, or transferred to this District is appropriate. See, e.g., Waltz v. Lee, 199 F.R.D. 129,

  134-35 (S.D.N.Y 2001). Accordingly, the Congestion Pricing Cases, and any subsequently filed



                                                    4
Case 2:23-cv-03885-LMG-LDW Document 84-2 Filed 01/10/24 Page 6 of 6 PageID: 3695




  related actions, should be consolidated for all purposes in the interests of judicial economy and

  overall efficiency.2

                                          CONCLUSION

         For the foregoing reasons, plaintiffs respectfully request that the Court consolidate the two

  Congestion Pricing cases .


                                                       NAGEL RICE LLP

                                                       By: s/ Bruce H. Nagel
                                                       Bruce H. Nagel, Esq.
                                                       Randee M. Matloff, Esq.
                                                       103 Eisenhower Parkway
                                                       Roseland, New Jersey 07068
                                                       Telephone: (973) 618-0400
                                                       Attorneys for Plaintiffs
                                                       in Sokolich/Galler Action

  Dated: January 10, 2024




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   The proposed order submitted with this motion uses the first filed docket number first for the
  new caption.
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